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 1    Nicole Freeling
      8631 Sierra Ridge Dr. Apt F.
 2    Indianapolis, In 46239
      317-500-8757
 3    Plaintiff in Pro per
      n.freeling@outlook.com
 4
                                        UNITED STATES DISTRICT COURT
 5

 6                                     CENTRAL DISTRICT OF CALIFORNIA

 7

 8                                               JURISDICTION

 9    NICOLE FREELING
                                                        Case No: 8:23-cv-00173-KK-KES
10                        Plaintiff,
                                                        HON. JUDGE KENLY KIYA KATO
11    vs.

12
      PCX, INC., et.al,
                                                        PLAINTIFFS’ REQUEST MOTION TO
13                                                      PERMIT WITNESS TO TESTIFY VIA
14
                          Defendant                     ZOOM

15                                                      Pretrial Conference: April 4, 2024
16

17
                                                        Trial Date: April 22, 2024,
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       TO THE HONORABLE COURT AND TO ALL THE PARTIES:
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23
                   NOW COMES, Plaintiff would respectfully ask the Court to allow witness

24    Devon Carter to testify remotely for the upcoming trial beginning on April 22, 2024.
25
      Devon Carter resides out of state and the current circumstances make it extremely
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27    hard for him to appear in person. Plaintiff is attaching Declaration to support request.

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      1 PLAINTIFFS’ REQUEST MOTION TO PERMIT WITNESS TO TESTIFY VIA ZOOM
     Case 8:23-cv-00173-KK-KES Document 82 Filed 03/29/24 Page 2 of 2 Page ID #:1921



 1    This motion is made following the conference of counsel pursuant to Local Rule 7-
 2
      3 which took place on Monday March 25, 2024
 3

 4

 5    Date: March 29, 2024,                      Respectfully submitted,
 6
                                          By:       Nicole Freeling
 7
                                                  Nicole Freeling, Pro Se.
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      2 PLAINTIFFS’ REQUEST MOTION TO PERMIT WITNESS TO TESTIFY VIA ZOOM
